          Case 2:20-cv-03667-PA-PVC Document 4 Filed 04/21/20 Page 1 of 2 Page ID #:248
                                    OF ATIORN   EY(S)
NAME. ADDRESS. AND TELEPHONE NUMBER
OR OF PARTY APPEARI NG IN PRO PER
Michael J. Bidart (#60582)
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 ATIORNEY(Sl FOR: PlantiffMusso & Frank Grill Co., Inc.

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
MUSSO & FRANK GRILL CO., INC., a California                                 CASE NUMBER:

corporation,
                                                           Plaintiff(s),
                               v.
MITSUI SUMITOMO INSURANCE USA INC.,
                                                                                           CERTIFICATION AND NOTICE
a New York corporation
                                                                                             OF INTERESTED PARTIES
                                                          Defendant(s)                           (Local Rule 7.1-1)

TO:     THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for            Plaintiff Musso & Frank Grill Co., Inc., a California corporation
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

           (List the names of all such parties and identify their connection and interest Use additional sheet if necessary.)

                          PAR'IY                                                       CONNECTION I INTEREST
MUSSO & FRANK GRILL CO., INC., a California                                Plaintiff
corporation

MITSUI SUMITOMO INSURANCE USA INC., a                                      Defendant
New York corporation




        April 21, 2020                                  Isl Michael J. Bidart
        Date                                            Signature



                                                        Attorney of record for (or name of party appearing in pro per):

                                                        Plaintiff MUSSO & FRANK GRILL CO., INC.
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.
                                                            PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)

 was received by me on (date).

            O I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or
                                                                                               ---------
            0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           -----------------
            on (date)                               ' and mailed a copy to the individual's last known address; or
                        --------
                                                                                                                                  , who is
            0 I served the summons on (name of individual)
                                                                                     --------------
             designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ;   or
           ----------------------                                                              ---------
            0 I returned the summons unexecuted because                                                                                ; or
                                                                        ---------------------
            0 Other (specify):




            My fees are$                             for travel and $                  for services, for a total of$            0.00
                                                                        ------


             I declare under penalty of perjury that this information is true.



  Date:
                                                                                               Server's signature



                                                                                              Printed name and title




                                                                                                 Server 's address


 Additional information regarding attempted service, etc:
